     Case 2:11-cr-00107-SAB    ECF No. 690     filed 12/19/11   PageID.1896 Page 1 of 1




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 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5
 6     UNITED STATES OF AMERICA,                  )     No. CR-11-107-WFN-14
                                                  )
 7                 Plaintiff,                     )     ORDER GRANTING MOTION
                                                  )     IN PART
 8     v.                                         )
                                                  )      Motion Granted in Part
 9     CALEB VADEN DORMAIER,                      )         (Ct. Rec. 662; 681)
                                                  )
10                 Defendant.                     )
                                                  )
11                                                )

12          At the December 16, 2011, hearing on the Motion to Modify and

13    Supplemental Motion to Modify Release Conditions (ECF Nos. 662 and

14    681), Douglas D. Phelps appeared with Defendant; Assistant U.S.

15    Attorney    Stephanie     Van    Marter     represented       the    United   States.

16    Defendant’s request to be permitted to be employed away from the

17    family   farm   is   GRANTED,      provided      it   does    not    interfere     with

18    treatment and is otherwise determined by Pretrial Services to be

19    proper employment.       The request to remove electronic monitoring is

20    DENIED   with   leave     to    renew.      Pretrial      Services    is   given    the

21    discretion to arrange a curfew as needed for employment purposes.

22          IT IS SO ORDERED.

23          DATED December 19, 2011.

24
25                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING MOTION IN PART - 1
